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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 )
KINDRED HEALTHCARE, INC.,                        )
                                                 )
                       Plaintiff,                )   Civil Action No.: 1:18-cv-00650 (RJL)
                                                 )
               vs.                               )
                                                 )
ALEX M. AZAR II, Secretary,                      )
 United States Department of Health              )
 and Human Services,                             )
                                                 )
                       Defendant.                )
                                                 )

                        JOINT PROPOSED BRIEFING SCHEDULE

       Pursuant to the Court’s Case Management Order dated March 29, 2018 (ECF No. 4),

Plaintiff Kindred Healthcare, Inc., and Defendant Alex M. Azar II, Secretary of Health and Human

Services, by and through their undersigned counsel, have conferred and, based on those

discussions, hereby submit the following joint proposed briefing schedule. Counsel for the parties

have conferred and believe the matter will be resolved solely through the filing of dispositive

motions. Counsel further believe that an appearance before the Court will not be necessary prior

to resolution of the dispositive motions.

       Counsel hereby submit the following joint proposed briefing schedule for dispositive

motions:

              Plaintiff’s Motion for Summary Judgment                     October 2, 2018

              Defendant’s Opposition to Plaintiff’s Motion for            December 4, 2018
               Summary Judgment and any Cross-Motion for
               Summary Judgment

              Plaintiff’s Opposition to Defendant’s Cross-Motion          January 18, 2019
               for Summary Judgment and Plaintiff’s Reply to
               Defendant’s Opposition to Plaintiff’s Motion for
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               Summary Judgment

              Defendant’s Reply to Plaintiff’s Opposition to               March 4, 2019
               Defendant’s Motion for Summary Judgment

       A proposed order reflecting this joint proposed briefing schedule is attached.



Dated: June 22, 2018.



                                                  Respectfully submitted,

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